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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                 GREENVILLE DIVISION

BRANDON PUGH (# 165014)                                                                       PLAINTIFF

v.                                                                               No. 4:19CV13-GHD-RP

LT. EDWARD THIGPEN
LT. TONY FOSTER
DEPUTY WARDEN LEE SIMON
ASSOCIATE WARDER MRS. STURDEVANT                                                          DEFENDANTS


                                ORDER DENYING PLAINTIFF’S
                               MOTIONS [32], [33] FOR DISCOVERY

        The plaintiff has filed two motions [32], [33] to conduct discovery in the present case

proceeding under 42 U.S.C. § 1983 challenging the conditions of his confinement. The plaintiff is

currently incarcerated at the Wilkinson County Correctional Facility. Discovery in pro se prisoner

conditions of confinement cases is limited to that set forth in the court’s scheduling order. The

plaintiff has not provided sufficient justification for discovery beyond the limits set forth in that order.

As such, he is not entitled to conduct discovery at this time, and the motions [32], [33] are DENIED.


        SO ORDERED, this, the 25th day of September, 2020.



                                                          /s/ Roy Percy
                                                          UNITED STATES MAGISTRATE JUDGE
